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                                                                         Clerk, U.S. District Court, ILCD

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                               UNITED STATES DISTRICT COURT               CLERK OF THE COURT
                                                                           U.S. DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS            CENTRAL DISTRICT OF ILLINOIS



Kevin P. Mallette,                           }

Plaintiff                                    }         Case No. 17-3127

       Vs.                                   }

Governor Bruce Rauner                        }

Illinois State Lottery                       }

Northstar Lottery Group                      }

Respondents                                  }



                           Plaintiff's First Amended Complaint

Now comes the Plaintiff (prose) in the above captioned cause and asserts to

The Court the following information:

                     I. The Plaintiff purchased a $5,000 A Week For Life Lottery

                         Scratch Off Ticket on September 9, 2016 in Chicago,

                         Illinois.

                     2. The ticket revealed that the Plaintiff had the necessary

                         Symbol to win the 15 Prizes as stated on the ticket. (See

                         Exhibit 1 ), and the Grand Prize.

                     3. The ticket had the correct winning symbols but failed to list

                         The correct language on the $5,000 for Life ticket on its

                       face

                     4. When the Plaintiff attempted to cash in the ticket, he was
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                      Informed that the ticket value was $100.00.

                   5. Attempts to settle this amount to bring the Grand Prize to

                    The Plaintiff which would total a lifetime award of $3,914,000

                    On a Cash Option Payment with the Illinois State Lottery have

                    Not been successful.

Plaintiff believes that his standing comes within the United Commercial Code,

Section 1-206 under the Statute of Frauds regarding negotiable documents, and

That he has met the burden of criteria also under the Uniform Sales Act by his

Legitimate purchase of this lottery ticket and should be compensated as such.



Plaintiff believes that the Illinois State Lottery and Northstar knew or should

have known the value of these Tickets, and then participated in fraud and willful

deception to the unsuspecting Public by not enforcing actual wins.



Plaintiff prays that the Court will enforce this actual win and any other remedies

As the Court directs.




Kevin P. Mallette, Plaintiff



Attorneys of Record:

Plaintiff-Prose

Respondents-Unknown
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                            CERTIFICATE OF SERVICE



I, Kevin P. Mallette to certify that I have served on the all Parties on Court Case
No. 17-3127, U.S. District Court, Cen\rfil Distrii a cppy of Plaintiff's First
JWlended Copy of the Complaint by frtt     ""-a            n/
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                                                  Kevin P. Mallette
                                             3:17-cv-03127-SEM-TSH # 8                                               Page 4 of 7


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 BURRUS v. STATE LOTTERY COMMISSION OF
 INDIANA
      Pnnt

                          United States Court of Appeals,Seventh Circuit.
     Freddie BURRUS, et al., Plaintiffs-Appellees, v. STATE LOTTERY COMMISSION
             OF INDIANA, d/b/a The Hoosier Lottery, Defendant-Appellant.
                                                                                      Font size:

                                                                                                                                  •••                                            ~
                                                      No. 08-1142.
                                           Decided:Octobero6,2008
Before BAUER, RIPPLE, and MANION, Circuit Judges.Nora L. Macey (argued). Attorney, M.aoey Swanson &
Allman, Indianapolis, IN, for Plaintifl's-Appellees. Andrew M. McNeil (argued), Attorney, Bose Mckinney &
Evans, ill', Indianapolis, IN, for Defendant-Appellant.
Plaintiffs, seven former employees of the State Lottery Commission of Indiana, which does business under the
                                                                                                                                  • •
                                                                                                                              Find Law Career Center

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name Hoosier Lottery (hereinafter "Lottery"), sued their former employer under 42 U.S.C. § 1981 and Title VII
of the Civil rughts Act of 196<1. They claimed that they were fired because of their race. The Lottei:y movro
to dismiss the plaintiffs'§ i981 claims on the basis that it was a state agency and therefore entitled to
                                                                                                                              Corporate Counsel
                                                                                                                              Academic
                                                                                                                              Judicial Clerk
                                                                                                                              Summer Associate
                                                                                                                                                                           I
sovereign immunity pursuant to the Eleventh Amendment. The district court denied the Lottery's motion,                        Intern
and we affirm.                                                                                                                Law Libranan

I.                                                                                                                            !Search Job~     Post a Job   I   View More Jobs

                                                                                                                                                                           VfftwMore
The Indiana General Assembly created the Lottery in 1989 to operate lottei:y games •as a separate body politic
and corporate from state government.• Ind.Code§ 4-3<>-1-2(1). It intended the Lottery to function · as
much as poSStole as an entrepreneurial business enterprise,• and mandated "[t]bat the lottery games be
operated as a self-supporting revenue raising operation.• Id. § 4-30-i-2(1), (3). Over the years, the Lottei:y
has more than proved its ability to raise revenue: from its inception, the Lottery has made over $3 billion in
profits, including over $210 million in fiscal year 2007 alone. Ind. State Budget Agency, Distribution of Build
Indiana Fund and Lottei:y and Gaming Revenues 3 (2007), http://www.in.gov/sba/files/LGSJ>istnl>ution__
Report._ 2007.pdf (last visited Sept. 23. 2008).

To enable the Lottei:y to commence operations, the Indiana General Assembly authorized up to $18 million in
start-up appropriations. As it turned out, the Lottery did not need that much money to get up and running.
                                                                                                                                  STEP UP YOUR RIDE
The Lottery's audit s tatement of cash flows for its first fiscal year shows that tbe money actually appropriated
                                                                                                                                  WITH A NEW INDY
from the State during that period was just over $6 million, and that sum was promptly repaid with interest
during the same fiscal year. The parties have stipulated that the Lottery's financial reports show no other
appropriations from the state other than that initial, promptly repaid sum.

The governor of Indiana appoints a five-member commission to operate the Lottei:y as wcll as a director, who
is chaij:ed with "maximiz(lng] revenues in a manner consistent with the dignity of the state and the welfare of               Funny Legal Updates
                                                                                                                              Subscribe to Legal Grounds
its citiuns." Ind.Code§§ 4- 30-5-1, -a. The Lottery is "a body politic and corporate separate from the state.•                Free Findl.aw Newslettef$
                                                                                                                              Ne      tters.F1ndlaw.com
Id. § 4-30-3-1. It has the authority to sue and be sued in its own name. Id. Wben the Lottecyis sued, the
director of the Lottei:y makes the final decision about whether the Lottery will agree to a settlement and how                l ega l Pop Culture
                                                                                                                              Subscnbe to Ferne and Forty
much the Lottery   wm   pay. Wben the Lottery pays a monetai:y settlement or any other leg;il obligation, the                 Free FtndLaw Newsletters
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money comes from the Lottery's administntive trust fund as a general operating expense. Should the Lottery
default on any of its monetacy obligations, the Indiana Attorney General's official position is that the state                ls It Legal?
would not be liable. 1991 Ind. OAG No. 10.                                                                                    ~~:1,:~nya~~~~~:ws
                                                                                                                              N •wsletff"rs.FindLaw.com
TI>e Lottei:y deposits an of its revenue, which is "continually appropriated" to the Lottei:y. in an administrative
trust fund that is separate from the state"s general fund. See Ind.Code§§ 4-30-15- 1, 4-8.1-i-a. The money in
the adminiatrative trust fund is used to pay the prims and the Lottery's expenses, such as the cost of supplies
and any legal settlement or monetary judgment. Id. § 4-30-16-L After the payment of prizes and expenses,
the surplus revenue from the administrative trust fund is disbursed as follows: $7.5 million each quarter goes
to the state treasurer for deposit in the India na state teachers' retirement fund; $7.5 million each quarter goes
to the state treas urer for deposit in the pension rdief fund; and any surplus remaining in the Lottery fund on
the last day of Januacy, April, July. and October afte r the transfers to the pension funds goes to the state
treasurer for deposit in the "build Indiana fund.• Id. § 4-30-16-J. The build Indiana fund is used for state
or local capital projects, though prior to using the funds for that purpose the state treasurer is required to
transfer $19,684,370 each month from the build Indiana fund to what Is exhaustively titled the "state general
                                           3:17-cv-03127-SEM-TSH # 8                                               Page 5 of 7


fund motor vehicle excise tax replaeement account.• Id. § 4·30-17-3·S(a). In the e-;ent that the funds in the
build Indiana fund are insufficient to meet the required transfer amount. the •auditor of state" ls required to
make up the difference from the state general fund. Id.§ 4-30-17-3.s(b).

For the most part, the Lottery operates independently from the state. It C$1ablishes its own annual budget
and is not required to submit its budget to the Indiana General Assembly for approval. It determines the type
oflottery games it conducts and the manner in which it conducts them. See id.§ 4-30-~7. It selects its own
internal auditor. It bas the power to purchase its own insurance; own. sell, and lease real and personal
property; and own and enforce copyrights, trademarks, and service marks. Id. §§ 4-30-3-10 to -12. It bas
the power to enter into contracts for the purchase or lease of goods and services. Id.§§ 4-30-~16 to -17.
And it establishes and maintains its own personnel program for its employees.

Though the Lottery has substantial operational independence, it is still heavily regulated by the state. The
Lottery is required to maintain weekly records oflottery transactions. Id.§ 4-30-3-4. It is subject to an
annual audit by the state board of acrounts and the state budget agency. Id.§§ 4·30-19-1 to -2. It must
submit revenue and expenditure reports to the state budget agency and each legislative member of the budget
committee upon request. Id.§ 4-30-19-4.2. lt also bas to submit monthly and annual reports to the governor
disclnsing revenue, expenses, and prize payouts. Id. § 4-30-3-:J. In addition, the Lottery, like other public
entities, is subject to the Indiana Open Door Law, see Id.§ 5-14-i.s-2(a){J)(B), and the Indiana Public Records
Act, id.§ 5-14-3-2(m)(8).

This action was brought after each of the plaintiffs' employment at the Lottery was lelminated between
January and May 2oos. All but one of the plaintiffs brought their emplayment dismmination claims against
the Lottery solely under§ 1981. The Lottecy moved to dismiss the plaintiffs' § 1981 claims on the basis of
sovereign immunity. The district court denied the motion, and the Lottery appeals.•

Il.

This appeal presents only one issue: whether the Lottery ls entitled to assert state soverelgn immunity under
the Eleventh Amendment to defeat the plaintiffs'§ 1981 claims. Our review of that issue is de novo.
Wisconsin v. Ho-Chunk Nation, 512 F.Jd 921, 929 (7th Cir.2oo8) (noting that a grant or denial ofsovereign
immunity is reviewed de novo).

The Fleventh Amendment provides: "The Judicial power of the United States shall not be construed to enend
to any suit in law or equity, commenced or prosecuted against one of the United States by Citizens of another
State, or by Citizens or Subjects of any Foreign State.• U.S. Const. Amend. XI. •Although the Amendment
speaks of suits filed by citizens of another state, the Supreme Court 'has consistently held that an unconsenting
State ls immune from suits brought in federal courts by her own citizens as well as by citlt.ens of another State.'
• Peirick v. IUPUT Athletics Dep't. 510 F.3d 681, 694-95 (7th Cir.2007) (quoting Edelman v. Jordan, 415 U.S.
6st, 662-63, 94S.Ct. 1347, 39 L.Ed.2d 662 (1974) Onternal citations omitted)). In addition, the Supreme
Court has held that state agencies, as arms of the state, are immune from suit under the Eleventh Amendment.
See F.delman, 415 U.S. at 663, 94 S.Ct. 1347. see also Joseph v. Bd. of Regents of Univ. of Wis. Sys., 432 F.Jd
746. 748 (7th Cir.2005).

  The Lottery claims that it is a state agency; the plaintiffs assert that it is not. To determine if a particular
entity is an arm of the state, courts look primarily at two factors: (1) the extent of the entity's financial
autonomyfrom the state; and (2) the "general legal status• of the entity. Kashani v. Purdue Univ., 813 F.2d
843, 845-47 (71h Clr.1987). Of the two, the entity's financial autonomy is the "most Important factor."
Peirick, 510 F.3d at 695; see also Edelman, 415 U.S. at 663, 94 S.Ct. 1347. In evaluating that factor, we
consider the extent of state funding. the state's oversight and control of the entity's fiscal affairs, the entity's
ability to raise funds independently, whether the state taxes the entity, and whether a judgment against the
entity would result in the state increasing its appropriations to the entity. Kashani, 813 F.2d at 84s; see also
Hess v. Port Auth. Trans-Hudson Corp., 513 U.S. 30, 48, USS.Ct. 394. 130 L.F.d.2d 245 (1994) (recognizing
"the vulnerability of the State's purse as the most salient factor in Eleventh Amendment determinations}.

   Taking into account these considerations, we find that the first factor cuts heavily against finding that the
Lottery is an arm of the state of Indiana. The Lottery's complete lack of fiscal reliance upon the state is plain.
The Lottery's funds are kept in an administrative trust fund separate and apart from the state's general fund.
True to the state legislature's intent that the Lottery "be operated as a self-supporting revenue raising
operation," Ind.Code§ 4-30-1-2(3), the Lottery funds all ofits own operations with the revenue generated
from the games it operates. The revenue the Lottery generates from the games is enormous, totaling billions of
dollars in profits alone. Given that large stream of revenue, the Lottery has no need for recourse to the state
treasury. The Lottery bas not received any funds from the state treasury since the $6 million given upon its
Inception, and that money was quickly paid back with interest.

Most importantly, the Lottery pays any legal obligation from its own administrative trust fund. The Indiana
Attorney General has expressly disclaimed liability for any of the Lottery's monetary obligations. See 1991
Ind. OAG No. 10. Under that official opinion, the state treasury is not exposed should there be a monetary
judgment against the Lottery in this case. Because the Lottery raises revenue on its own account, controls and
funds its own operations, and does not expose state coffen when monetary judgments are rendered against it.
we conclude that it is an entity financially independent from the state. Cf. Miller-Davis Co. v. Ill Stale Toll
Highway Auth., 567 F.2d 323, 327 (7th Ciu977) (holding that the Eleventh Amendment did not har suit
against the lliinois State Toll Highway Authority where the highway authority raised its own revenue through
bonds and tolls and the state expressly disclaimed liability for the bonds).

The Lottery's protests to the contrary are unavailing. The Lottery argues that it maintains significant
financial ties to the state because its primary purpose is to raise revenue for the state. Acconling to the
Lottery, should a monetary judgment deprive it of the ability to meet its revenue goals, the state would have
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less revenue, thereby impacting the state treasury. It is undisputed that a great portion of Lottery revenues-
the money left over after the Lottery's operating costs are covered-is transferred to the Indiana state teachers'
retirement fund, the Indiana pension relief fund, and the build Indiana fund. And it is also undisputed that,
according to statute, if the build Indiana fund has insufficient funds to meet its transfer requirements to the
state general fund motor vehicle excise tax replacement account, the state has to tap the general fund to make
up the difference. See IndCode § 4-30-l7'-J.5Cb). (Although not mentioned in the recoi:d, we will even
assume that the same is true of the other two funds.)

Nevertheless, that is not the type of effect on the state fisc that our prior cases have considered the mark of a
state agency. We have been concerned with the effect of monetary judgments on the state treasury only when
the entityag.ainst which the judgment is rendered is dependent on state appropriations. See, e.g., Kashani,
813 F.2d at 846 ("If a judgment were awarded against Purdue, the state treasury would not write out a checl< to
Kashani. But in view of the fact that Purdue is by design dependent on state appropriations, which are
evidently carefully geared through close oversight to meet the changing financial needs of the university, it is
apparent that the payment would directly affect the state treasury."). In contrast, the Lottety is not
dependent on state funds for its operations. There are therefore no fungible funds from the state treasury
that would have to be replaced in the event of a judgment award. The state may be deprived of some of its
anticipated (and hoped-for) revenue, but "the Supreme Court has rejected the state-benefit theory of sovereign
immunity.• Taldev. Univ. of WIS. Hosp. & Clinics Auth., 402 F.Jd 768, 770 (7th Cir.2oot;). According to the
Supreme Court,

The proper focus is not on the use of profits or surplus, but rather is on losses and debts. If the expenditures
of the enterprise exceed receipts, is the State in fact obligated to bear and pay the resulting indebtedness of the
enterprise? When the answer is "No"-both legally and practically-then the Eleventh Amendment's core
concern is not implicated. It would indeed heighten a "mysterfy) oflegal evolution•were we to spread an
Eleventh Amendment cover over an agency that consumes no state revenues but contributes to the State's
wealth.

Hess, 513 U.S. at 51 and n. 21, us S.Ct. 394- The Lottery is a pure profit producer for the state, with no
potential for the state to incur debt The fact that a judgment against the Lottery may "affect" the state
treasury in the sense that the state treasury will not be quite as flush absent the money paid the plaintiffs by
the Lottery is not pertinent to the Eleventh Amendment analysis.

In arguing that it is financially dependent on the state, the Lottery also points to a statute that states that the
money in the lottel)''s administrative trust fund is "continually appropriated to the commission for the
purposes specified in this article.• Ind.Code§ 4-30-15-i. The money in the Lottel)''s administrative trust
fund is completely generated by the Lottery. The Lottery is a source for state revenue, not a siphon. The
type of"appropriation• referred to in§ 4-3<>-15-1 of the Indiana Code is therefore not an appropriation from
the state treasury. Thus, it is of a different kind than the appropriations we have found to be the mark of a
state agency, namely, those appropriations that come "directly from the state.• Kashani, 813 F.2d at 845.

Moving on to the second factor·the general legal status of the entity-it too supports a conclusion that the
Lotte!)' is not an arm of the state. The Lottery generally controls its own operations. Like a private
enterprise, the Lotte!)' maintains control over its own operating budget and has the power to enter into
contracts; own and enforce trademarks and service marks; sell, own, and lease property; and sue and be sued
in its own name. Furthermore, the statute creating the Lottery states that the Lottery is "a body politic and
corporate separate from the state," Ind.Code§ 4-30-3-1 (emphasis added), and should "function as much as
possible as an enttepreneurial business enterprise." Id. § 4-30-1-2(1). The Indiana Attorney General,
interpreting that statutory language, determined that the state will not be liable for any financial obligations of
the Lottery. 1991 Ind. OAG No. 10. And the Indiana Supreme Court, in applying that statutory language, has
held that employees of the Lottery are not employees of the state of Indiana. Nobles v. Cartwright, 659 N.E.2d
1o64, 1072 (lndCt.App.1995). In short, the state acts like the Lotte!)' is a separate entity. While the
question of sovereign immunity is a matter of federal law, the state of Indiana's own view of the entity it
created is significant. See Peirick, 510 F.Jd at 696. And the manner in which Indiana law treats the Lottery
cuts heavily against finding that the Lottery is an arm of the state.

The Lottery, unsurprisingly, takes a different view of its status vis Avis the state. The Lotte!)' points to the
fact that the governor appoints the members of the commission that operates the Lotte!)' in an attempt to show
that it is a mere appendage of the state. But "the power to appoint is not the power to control.• Talde, 402
F.Jd at 770; see also Auerv. Robbins, 519 U.S. 452, 456 n. 1, 117 S.Ct. 905.137 I.Ed.2d 79 (1997) (noting that
although the governor appointed four of the five-member board of police commissioners, the "board [was) not
subject to the State's dim:tion or control in any other respect"). As we have explained above, despite the
governor's appointment of its commissioners, the Lottery sets its own budget, controls its day-to-day
operations, sues in its own name, and brings in its own revenue. Indeed, with respect to litigation. the
director of the Lottery, and not a state officer like the attorney general, makes the final decision about whether
the Lotte!)' will agree to a settlement and how much the Lottery wm pay.

Moreover, the governor's power to appoint the Lottery commissioners is o\'el'Shadowed by the Lottery's
financial independence from the state. "[W]here the evidence is that the state did not structure theentity to
put the state treasury at risk of paying the judgment, then the fact that the state appoints the majority of the
governing board of the agency does not itselflead to the conclusion that the entity is an arm of the state.•
Fresenius Med. Care Cardiovascular Res., Inc. v. P.R. & Caribbean Cardiovascular Ctr. ColJ>., 322 F.3d 56, 68
(1St Cir.2003). "Moreover, rendering [the control that comes through the exercise of a governor's
appointment power] dispositive does not home in on the impetus for the Eleventh Amendment: the
prevention offederal-courtjudgments that must be paid out of a State's treasury.• Hess, 513 U.S. at 48, 115
S.Ct. 394-
                                                3:17-cv-03127-SEM-TSH # 8                                           Page 7 of 7


Here, there is no question that the state of Indiana intended to protect its state purse from a judgment against
the Lottery. The several provisions from the Indiana Code cited above clearly establish the Lottery as an
entity separate from the state. And the official opinion of the Indiana Attorney General verifies that the
Lottery is not an agency of the state. Accordingly, that the Lottery operates independently from Indiana's
state treasUiy is the detenninative factor in the Eleventh Amendment analysis. That factor greatly outweighs
the fact that Indiana's governor appoints the Lottery commissioners. See id. at 47-48, us S.Ct. 394; Takle,
402 F.3d at 770-71.

We are similarly unpersuaded by the Lottecy's reference to the state regulations to which it is subjected. The
regulations demonstrate that the public takes a healthy interest in its operation, like the public does with a
utility or any other quasi-public entity. Beyond that, however, the regulations for Eleventh Amendment
purposes are not significant. Similar regulations did not change our conclusion in Takle that the University of
Wisconsin llospital and Clinics Authority was not an arm of the state of Wisconsin. See Takle, 402 F.3d at
771 (referring to the fact that the University of Wisconsin Hospital and Clinics Authority was subjected to
Wisconsin's open-meeting laws as "minor strings"); see also Durning v. Citi"bank, N.A., 950 F.2d 1419, 1427
(9th Cir.199tJ ("Admittedly, the Authority is more closely tied to the state than an ordinary corporation. The
governor and state treasurer serve on its board, and it is subject to the state's open meetings law.
Nonetheless, its separate corporate status is clearly established."). Likewise, the existence ofsuch regulations
does not alter our conclusion here. The Lottery is not entitled to invoke the Eleventh Amendment.

lll.

The Lottery is not entitled to sovereign immunity because it is not an arm of the state. We therefore AFFIRM
the decision of the district court denying the Lottery immunity from the plaintiffs' 42 U.S.C. § 1981 claims.

FOOTNOTES

i.   We have jurisdiction over this appeal pursuant to the collateral order doctrine. Puerto Rico Aqueduct &
Sewer Auth. v. Metcalf & Eddy, Inc., 5o6 U.S. 139, 147, 113 S.Ct. 684, 121 L.Ed.2<1 6os (1993) (holding that
"States and state entities that claim to be 'arms of the State' may take advantage of the collateral order doctrine
to appeal a district court order denying a claim of Eleventh Amendment immunity").

MANION, Circuit Judge.




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